 1IOCf'nourt
               Case 1:19-cr-00108-MKB Document 50 Filed 10/06/21 Page 1 of 1 PageID #: 269


1-
1. CIRyDIST./DIV.CqM                      2. PERSON REPRESENTED                                                                             VOUCHER NUMBER

               lA<ir-lC^
                                                     4. DIST. DKT./DEF. NUMBER                             5. APPEALS DKTVDEF. NUMBER                                        6. OTHER DKT. NUMBER
3. MAG. DKTTDEF. NUMBER


                                                     8. PAYMENT CATEGORY                                   9. TYPE PERSON REPRESENTED                                        10. REPRESENTATION TYPE
7. IN CASE/MATTER OF rCorcAtowe;
                                                     □ Felony                   □ Petty Offense            □ Adult Defendant                   □ Appellant                        (See Instructions)
                                                     □ Misdemeanor              □ Other                    □ Juvenile Defendant                □ Appellee
                                                     n Appejil                                             □ Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, ritle & Section) Ifmore than one offense, list (up to five) major offenses charged, according to severity of offense.


12. ATTORNEY'S NAME (First Name, M.I.. IxtstName, including any suffix),                                   13. COURT ORDER
       AND MAILING ADDRESS                                                                                 □ 0 Appointing Counsel                                            □ C Co-Counsel
                                                                                                           □ F Subs For Federal Defender                                     □ R Subs For Retained Attorney
                                                                                                           □ P Subs For Panel Attorney                                       □ Y Standby Counsel
                                                                                                           Prior Attorney's Name:
                                                                                                                 Appointment Dates:
                                                                                                           □ Because the above-named person represented has testified under oath or has otherwise


                                                                                                                                         ^^pointed torepresent^s^son^^^ra^OR^^
      1                                                                                                    satisfied this Court thj t le or she (I) is financially unable to emp^ counsel and (2) does
                                                                                                           not wish to waive cotJ isel, and because the interests of justice so^^ire, the atromey whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provideper instructions)                                    name appears tti Itenj 12
                                                                                                            □ Other (SeSdnstn ct

                      Su vn                                                                                                              nature of Rfeskling Judge or By Order of the Court

                                                                                                                                        Iblif
                                                                                                                                 Date of Order                                              Nunc Pro Tunc Date
                                                                                                           Repayment or partial repayment ordered &om the person represented for this service at time
                                                                                                           appointment.             □ YES            □ NO

                           CLAIMFOR SERVICES AND EXPENSES                                                                                                         FOR COURT USE ONLY
                                                                                                                        TOTAL                  MATH/TECH.                        MATH/TECH.
                                                                                         HOURS                                                                                                         ADDITIONAL
          CATEGORIES (Attach itemization of services with dates)                                                    AMOUNT                     ADJUSTED                           ADJUSTED
                                                                                        CLAIMED                                                                                                          REVIEW
                                                                                                                    CLAIMED                         HOURS                         AMOUNT

                                                                                                             <                . O.tiU                                        r              U.bU
          a Arraiffnment and/or Plea
                                                                                                                                           :    t    ' 1.                         ~    ^    0,00
                                                                                                                                                         );                                 0.00
          c. Motion Hearinas
                                                                                                                                                     /       •
                                                                                                                                                                                           ' 0.00
          d. Trial
          e. Sentencina Hearings                                                                             .      .     .     b.bo\                                              -        0.0b
                                                                                                                   ' ' •        o.bo                                                        0,00.
                                                                                                                              /o.oo                                                         0.00.
          h. Other (Specify on additional sheets)                                                                             ^ 0.00                                                       uO.OO.
                                                                                                    0.00                        0.00                              0.00                      0.00
          (RATE PER HOUR = S                               )      TOTALS;
                                                                                                                                u.uu                                                        0.00
          a Interviews and Conferences
                                                                                                                                0.00                                                        0.00
          b. Obtainine and reviewina records
          c. Legal research and brief writing                                                                                 . 0.00                                                        0.00
          d. Travel time
                                                                                                                                O.pb,                                                       p.oo
          e. Invcstiaative and other work (Specify on additional sheets)                                                      , O.Off'                                                      b.bb
          (RATE PER HOUR = 5                               )      TOTALS:                           6.6d                        0.00      , -            V        0.00                      b.bb
17.       Travel Expenses (lodeinz parking, meals, mileage, etc.)                                      !


18.       Other Expenses (other than expert, transcripts, etc.)                                        \                            \      2: ^,5                «-
                                                                                                                                0.00                                                        0.00
GRAl«).TOTAtSrrtSiilMED^^^^                                                                                                                ir-- -i.                      "
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                               20. APPOINTMENT TERMINATION DATE                                               21. CASE DISPOSITION
                                                                                                                IF OTHER THAN CASE COMPLETION
       FROM:                                              TO:

97 ri AIM .STATUS                    □ Final Payment                □ Interim Payment Number                                                        □ Supplemental Payment

       Have you previously applied to the court for compensation and/or reimbursement for this    □ YES ■ □ NO                If yes, were you paid? □ YES □ NO
       Other than from the Court, have you, or to your Imowledge has anyone else, received payment (compensation or anything ofvalue) fixan any other source in connection with this
       representation? DYES            □ NO            If yes, give details on additional sheets.
       1 swear or affirm the truth or correctness of the above statements.




23. IN COURT COMP.                       24. OUT OF COURT COMP.             25. TRAVEL EXPENSES                         26. OTHER EXPENSES                                   27. TOTAL AMT. APPR^CERT.
                                                                                                                                                                             $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                                    DATE                                                 28a. JUDGE CODE


29. IN COURT COMP.                       30. OUT OF COURT COMP.             31. TRAVEL EXPENSES                         32. OTHER EXPENSES                                   33. TOTAL AMT. APPROVED
                                                                                                                                                                             $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                           DATE                                                 34a. JUDGE CODE
    in excess of the statutory threshold amount.
